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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   KATHLEEN E. POPE, et al.,

 9                             Plaintiffs,                Case No. C21-1079-JCC-SKV

10          v.                                            MINUTE ORDER

11   SPOKANE SCHOOL DISTRICT NO. 81,
     et al.,
12
                               Defendants.
13

14
            The following Minute Order is made at the direction of the Court, the Hon. S. Kate
15
     Vaughan, United States Magistrate Judge:
16
            Plaintiffs’ unopposed request for an extension to file the Joint Status Report and
17
     Discovery Plan, Dkt. 58, is GRANTED. The deadline is herein re-set to December 10, 2021.
18
            Dated this 3rd day of December, 2021.
19
                                                          Ravi Subramanian
20                                                        Clerk of Court

21                                                    By: Kadya Peter
                                                         Deputy Clerk
22

23




     MINUTE ORDER - 1
